                                          1 Wesley D. Ray (SBN 026351)
                                            Wesley.Ray@SacksTierney.com
                                          2 SACKS TIERNEY P.A.
                                            4250 N. Drinkwater Blvd., 4th Floor
                                          3 Scottsdale, AZ 85251-3693
                                            Telephone: 480.425.2600
                                          4 Facsimile: 480.970.4610
                                            Attorneys for Lincoln Capital Partnership, LLLP
                                          5

                                          6
                                                                      UNITED STATES BANKRUPTCY COURT
                                          7
                                                                                 DISTRICT OF ARIZONA
                                          8

                                          9   In re:                                         Chapter 7 Proceedings
                                         10   JEFFREY T. CHRISTENSON and                     No. 2:18-bk-05678-DPC
                                              SHARON R. CHRISTENSON,
                                         11                                                  NOTICE OF RULE 2004 EXAMINATION
                                                         Debtors.                            AND PRODUCTION OF DOCUMENTS
                       P.A., ATTORNEYS




                                         12
   4250 NORTH DRINKWATER BOULEVARD

     SCOTTSDALE, ARIZONA 85251-3693




                                         13   TO:      Jeffrey T. Christenson and
                                                       Sharon R. Christenson
             FOURTH FLOOR




                                         14            c/o Thomas Allen
SACKS TIERNEY




                                                       Allen Barnes & Jones, PLC
                                         15            1850 N. Central Ave., Suite #1150
                                                       Phoenix, AZ 85004
                                         16
                                                       In accordance with the Order Approving and Directing Rule 2004 Examination and
                                         17
                                              Production of Documents, entered on August 9, 2018 (the “Order,” a copy of which is attached
                                         18
                                              hereto as Exhibit “1” and is incorporated herein by this reference),
                                         19
                                                       YOU ARE HEREBY NOTIFIED that, pursuant to the Order and Fed. R. Bankr. P. 2004,
                                         20
                                              you are required to produce the documents and other information referenced in the Order, and
                                         21
                                              submit to an oral examination under oath, at the location, dates and times listed below:
                                         22

                                         23   LOCATION OF DOCUMENT PRODUCTION                              Sacks Tierney, PA
                                              AND ORAL EXAMINATION UNDER OATH:                             4250 N. Drinkwater Blvd., 4th Floor
                                         24                                                                Scottsdale, AZ 85251-3693
                                         25   DOCUMENTS TO BE PRODUCED:                                    See Exhibit “A” to the Order.

                                         26   DATE AND TIME OF PRODUCTION:                                 August 31, 2018, by 5:00 p.m.

                                         27   DATE AND TIME OF EXAMINATION:                                September 13, 2018 at 9:00 AM.

                                         28   ///


                                         Case2186688.v1
                                              2:18-bk-05678-DPC         Doc 33 Filed 08/16/18 Entered 08/16/18 11:37:43                  Desc
                                                                         Main Document    Page 1 of 2
                                          1              DATED: August 16, 2018.
                                          2                                        SACKS TIERNEY, P.A.
                                          3                                        By: /s/ Wesley D. Ray
                                                                                       Wesley D. Ray
                                          4                                            Attorneys for Lincoln Capital Partnership,
                                                                                       LLLP
                                          5 COPY of the foregoing emailed on
                                              August 16, 2018, to:
                                          6
                                              Thomas Allen
                                          7 ALLEN BARNES & JONES, PLC
                                              1850 N. Central Avenue, Suite 1150
                                          8 Phoenix, Arizona 85004
                                              Tallen@allenbarneslaw.com
                                          9 Attorneys for Debtors

                                         10 David M. Reaves
                                              P.O. Box 44320
                                         11 Phoenix, Arizona 85064
                                              Trustee@reaves-law.com
                                         12 Chapter 7 Trustee
                       P.A., ATTORNEYS
   4250 NORTH DRINKWATER BOULEVARD




                                         13 /s/ Sandra E. Dousdebes
     SCOTTSDALE, ARIZONA 85251-3693




                                         14
             FOURTH FLOOR




                                         15
SACKS TIERNEY




                                         16
                                         17

                                         18

                                         19

                                         20

                                         21

                                         22

                                         23

                                         24

                                         25

                                         26

                                         27

                                         28

                                                                                       2
                                         Case2186688.v1
                                              2:18-bk-05678-DPC      Doc 33 Filed 08/16/18 Entered 08/16/18 11:37:43      Desc
                                                                      Main Document    Page 2 of 2
